Casé 3718-CV-0U1005-CCC” Documem 1-2 Fied0ro0s/is” Page I oft

UNITED STATES DISTRICT COURT
DISTRICT OF PUERTO RICO

CATEGORY SHEET

You must accompany your complaint with this Category Sheet, and the Civil Cover Sheet (JS-44).

Attorney Name (Last, First, MI): |Vicente-Colén, Harold D.

USDC-PR Bar Number: pi 1805

Email Address: hdve@ve-law.net

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Title (caption) of the Case (provide only the names of the first party on each side):

Plaintiff: [Bancrédito International Bank Corporation
Defendant: [Data Hardware Supply, Inc.; Franco D'Agostino; Dayco Telecom C.A.
2. Indicate the category to which this case belongs:

[KX Ordinary Civil Case
[— Social Security
f— Banking

[- Injunction

3. Indicate the title and number of related cases (if any).

4, Has a prior action between the same parties and based on the same claim ever been filed before this Court?

. Yes
IX No

5. Is this case required to be heard and determined by a district court of three judges pursuant to 28 U.S.C. § 2284?

. Yes
>< No

6. Does this case question the constitutionality of a state statute? (See, Fed.R.Civ. P. 24)

[. Yes
X No

Date Submitted: banuary 8, 2018

rev. Dec. 2009

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